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 2
     ATKINSON LAW ASSOCIATES LTD.
 3   376 E Warm Springs Rd, Suite 130
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 4   Telephone: (702) 614-0600
     Attorney for Robert E. Atkinson, Trustee
 5

 6                        UNITED STATES BANKRUPTCY COURT
 7                           FOR THE DISTRICT OF NEVADA

 8                                                     Case No. 21-14486-abl
     In re:                                            Chapter 7
 9

10   INFINITY CAPITAL MANAGEMENT, INC.
     dba INFINITY HEALTH CONNECTIONS,                  NOTICE OF ENTRY OF ORDER
11
                         Debtor.
12

13

14            PLEASE TAKE NOTICE that an order, which is attached hereto, was entered in the
15   above-captioned matter.
16

17
     DATED: February 16, 2022                  ATKINSON LAW ASSOCIATES LTD.
18
                                               By:         /s/ Clarisse Crisostomo
19
                                                     CLARISSE L. CRISOSTOMO, ESQ.
20
                                                     Nevada Bar No. 15526
                                                     Attorney for Robert E. Atkinson, Trustee
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  4   Entered on Docket
___________________________________________________________________
    February 16, 2022
  5

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  8
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 13                                   UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF NEVADA
 14

 15           In re:                                           Case No. 21-14486-abl
                                                               Chapter 7
 16       INFINITY CAPITAL MANAGEMENT, INC.
 17
          dba INFINITY HEALTH CONNECTIONS,                     ORDER ON EX PARTE MOTION FOR
                                                               ALLOWANCE OF PAYMENT OF
 18                                  Debtor.                   $2,250.00 IN SUBPOENA PRODUCTION
                                                               COSTS AS AN ALLOWED
 19                                                            ADMINISTRATIVE EXPENSE
 20

 21                    The Court reviewed and considered the Trustee’s motion entitled EX PARTE
 22     MOTION FOR ALLOWANCE OF PAYMENT OF AN ADMINISTRATIVE EXPENSE TO
 23     INFINITY HEALTH SOLUTIONS LLC, IN THE AMOUNT OF $2,250.00 [DE #186] (the
 24     “Motion”).
 25                    Good cause appearing,
 26     ///
 27     ///
 28     ///


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 1   IT IS HEREBY ORDERED:
 2            1. The Motion is granted.
 3            2. The Trustee is authorized to remit $2,250.00 from estate funds to Infinity Health
 4                Solutions LLC as compensation for subpoena production.
 5            3. Such payment be deemed an allowed Section 503(b) administrative expense of
 6                the estate.
 7   IT IS SO ORDERED.
 8                                            # # # # #
 9   Respectfully submitted by:
10         /s/ Clarisse L. Crisostomo
       CLARISSE L. CRISOSTOMO, ESQ.
11
       Nevada Bar No. 15526
12     Attorney for Robert E. Atkinson, Trustee

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